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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

Liliana Carolina Yanes,
                                       Plaintiff (s),              INITIAL CONFERENCE
against-
                                                                   CV-23-9454(JMA)(AYS)
Nilkhant 2 Car Wash, LLC et al
                                        Defendant ( s)
                                                        .
  SHIELDS, United States Magistrate Judge:

 Conference date: April 29,2024 at 12:00 PM. An IN-PERSON initial conference will be held in
 Courtroom 840, Alfonse M. D'Amato U.S. Courthouse, Central Islip, New York.


   The parties are directed to confirm the date and time of this conference with each other. In the
  event that an adjournment is requested, any such request must be made pursuant to this Court's
  Individual Rules regarding adjournments and must be electronically filed as a "Motion," and not
  as a letter.

  The above-captioned matter has been assigned to United States Magistrate Judge Anne Y.
  Shields for the purposes of scheduling discovery, resolution of discovery disputes, settlement
  Conferences, and any other purpose set forth in 28 U.S.C. § 636(b)(1)(A). Counsel for each
  represented party and any party proceeding without an attorney (a "pro se" party) must appear
  for an initial conference at the date and time indicated above.

  Prior to the conference, all counsel and/or prose parties are directed to meet and confer
  regarding the discovery needs of this case, including a discussion of the exchange of
  electronically stored information ("ESI") and to prepare their INITIAL JOINT LETTER To
  assist in this process, the Court attaches to this Order its Individual Rules, as well as the
  requirements for filing the Initial Joint Letter, that must be completed and submitted to the Court
  via ECF at least two business days prior to the initial conference. At the conference, the Court
  will consider the parties' Initial Joint Letter and, upon consideration of the rules and practices of
  the assigned District Judge, enter an appropriate scheduling order.

  SO ORDERED.

  Dated: Central Islip, New York
         January 18, 2024                                   /s/ Anne Y. Shields
                                                            Anne Y. Shields
                                                            United States Magistrate Judge
